CaSe: 2218-CV-00052-i\/|HW-Ci\/|V DOC #Z 30 Filed: 05/08/18 Page: l Of 7 PAGE|D #Z 146

UN|TED STATES DlSTRlCT COURT
SOUTHERN DlSTRlCT OF OHlO
EASTERN DlVlSlON

Michae| J. Young,

Plaintiff,
v. Case No. 2:18-cv-52
LexisNexis, et al., Judge Michae| H. Watson
Magistrate Judge Vascura
Defendants.

ORDER

 

Michael J. Young (“Piaintifi”), proceeding pro se, brings this action against
LexisNexis Risk Data Management inc. (“LexisNexis”),1 Equifax Credit
information Services, inc. (“Equifax”), Experian information Solutionsl inc.
(“Experian"), and TransUnion intermediate Hoidings, inc. (“TransUnion”)
(together, “Defendants”) alleging, inter alia, violations of the Fair Credit Reporting
Act, 15 U.S.C. § 1681, et seq. (“FCRA”). LexisNexis moves to dismiss Plaintiff’s
claims against it for failure to state a claim. Mot., ECF No. 9-1. For the following

reasons, the Court GRANTS LexisNexis’ Motion.

 

1 Plaintiff’s Complaint names “LexisNexis Division of RELX PLC” as a defendant, but
LexisNexis avers that, “upon information and belief and based on Plaintiff’s allegations
involving the retrieval of bankruptcy records and tax liensl the proper entity is
LexisNexis Risk Data Management inc.” Mot. 1l ECF No. 9-1 (citation omitted).
Plaintiff does not dispute that LexisNexis Risk Data Management inc. is the proper
defendant in this case.

CaSe: 2218-CV-00052-i\/|HW-Ci\/|V DOC #Z 30 Filed: 05/08/18 Page: 2 Of 7 PAGE|D #Z 147

|. BACKGROUND

Plaintiff is an individual residing in Columbus, Ohio, who, in the course of
his business activities, seeks financing and credit from banks, ienders, and other
entities. Compi., ECF No. 3, PAGEID # 23. LexisNexis is a public records
vendor. Equifax, Experian, and TransUnion are nationwide consumer reporting
agencies Id.

Plaintiff alleges in his Complaint that LexisNexis “reported erroneous
information” to Equifax, Experian, and TransUnion regarding his filing status in
prior bankruptcy proceedings. Compl. 11 5. Specificai|y, Plaintiff alleges that in
three separate cases before the United States Bankruptcy Court for the Southern
District of Ohio, LexisNexis reported that Plaintiff was a “personal filer" instead of
a “trustee.” Id. Additionaiiy, Plaintiff alleges that LexisNexis erroneously
informed Equifax, Experian, and TransUnion of the existence of two valid and
unpaid federal tax liens against Plaintiff_one in the amount of $53,467, filed in
Aprii 2015 in Fairfieid County, Ohio, and the other in the amount of $20,796, filed
in September 2015 in Frank|in County, Ohio_even though those liens were
allegedly released and no longer of record. Id. Plaintiff avers that Equifax,
Experian, and TransUnion thereafter issued credit reports that included the
allegedly erroneous information regarding Plaintiff’s bankruptcy filings and unpaid
|iens, which was furnished to them by LexisNexis. ld.

After this information was reported by Equifax, Experian, and TransUnion,

Plaintiff alleges that he contacted LexisNexis by telephone and by mail to inform

Case No. 2:18-cv-52 Page 2 of 7

CaSe: 2218-CV-00052-|\/|HW-C|\/|V DOC #Z 30 Filed: 05/08/18 Page: 3 Of 7 PAGE|D #Z 148

it of the above (and additionai) erroneously reported information, but that
LexisNexis “has refused to correct its erroneous reporting and continues to
report” that information in a reckless and “arrogant” manner. Id. 11 6. Plaintiff
further avers that he contacted Equifax, Experian, and TransUnion about the
same errors but that they recklessly and arrogantly continue to issue credit
information regarding Plaintiff that incorporates this information. Id. 1111 8, 11, 14.

Plaintiff asserts that the reporting of this false information has damaged his
reputation and hindered his ability to obtain credit from banks and other ienders.
Id. 1111 9,12,15.

||. STANDARD OF REV|EW

A claim survives a motion to dismiss pursuant to Federal Rule of Civil
Procedure 12(b)(6) if it “contain[s] sufficient factual matter, accepted as true, to
state a claim to relief that is plausible on its face.” Ashcroft v. lqbal, 556 U.S.
662, 678 (2009). “The plausibility standard is not akin to a ‘probability
requirement,’ but it asks for more than a sheer possibility that a defendant has
acted unlawfully.” Id. This standard “caiis for enough fact to raise a reasonable
expectation that discovery will reveal evidence of [unlawful conduct]." Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 556 (2007). A compiaint’s “[f]actuai allegations
must be enough to raise a right to relief above the speculative level, on the
assumption that all the allegations in the complaint are true (even if doubtful in

fact).” ld. at 555 (internai citations omitted).

Case No. 2:18-cv-52 Page 3 of 7

CaSe: 2218-CV-00052-|\/|HW-C|\/|V DOC #Z 30 Filed: 05/08/18 Page: 4 Of 7 PAGE|D #Z 149

A court must also “construe the complaint in the light most favorable to the
piaintiff.” lnge v. Rock Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002). in doing so,
however, a plaintiff must provide “more than labels and conclusions, and a
formulaic recitation of the elements of a cause of action will not do.” Twombly,
550 U.S. at 555; see also lqbal, 556 U.S. at 678 (“Threadbare recitals of the
elements of a cause of action, supported by mere conclusory statements, do not
suffice.”); Ass’n of Cleveland Fire Fighfers v. Cr'fy of Cleveland, 502 F.3d 545.
548 (6th Cir. 2007). “[A] naked assertion . . . gets the complaint close to stating a
claim, but without some further factual enhancement it stops short of the line
between possibility and plausibility . . . Twombly, 550 U.S. at 557. Thus,
“something beyond the mere possibility of [relief] must be aileged. . . ld. at
557-58 (internal citations omitted).

Ill. ANAL¥S|S
Plaintiff’s claims against LexisNexis arise under 15 U.S.C. § 1681s-2,

”2 of credit

which is the only section of the FCRA that applies to “furnishers
information. Ogle v. BAC Home Loans Servicing LP, 2012 WL 12925834, at *8
(S.D. Ohio Jan. 12, 2012). LexisNexis argues that Plaintiff fails to state a claim

against it under 15 U.S.C. § 1681s-2 for two reasons: (1) 15 U.S.C. § 1681s-2(a)

 

2 LexisNexis states in its iVlotion that it “takes the position that it is acting as a public
records vendor and not a ‘furnisher’” to whom the FCRA applies, but thatl since
“Plaintiff’s theory against [LexisNexis] can only go fonivard if it was a ‘furnisher,"' it will
not contest the issue "for the purpose of the motion.” Mot. 1 n.1, ECF No. 9*1. The
Court thus likewise considers LexisNexis a “furnisher" within the meaning of the statute
for the purpose of this Opinion oniy.

Case No. 2:18-cv-52 Page 4 of 7

CaSe: 2218-CV-00052-|\/|HW-C|\/|V DOC #Z 30 Filed: 05/08/18 Page: 5 Of 7 PAGE|D #Z 150

does not allow for a private right of action, and (2) Plaintiff fails to allege, as
required under 15 U.S.C. § 1681s-2(b), that any credit reporting agency notified
LexisNexis that Plaintiff disputed the credit information at issue in this case. The
Court agrees that, for both of these reasons, Plaintiff fails to state a claim against
LexisNexis.

The FCRA places certain requirements on furnishers of credit information
to verify the accuracy of the information supplied to credit reporting agencies.
Specificai|y, 15 U.S.C. § 1681s-2(a) prohibits a fumisher from providing “any
information relating to a consumer to any consumer reporting agency if the
[furnisher] knows or has reasonable cause to believe that the information is
inaccurate.” However, “subsection (d) of 1681 s-2 forecloses a private cause of
action” for violations of § 1681s-2(a), “as it states that any such violations shall
be enforced exclusively ‘by the Federal agencies and officials and State officials
identified in section 1681s.’” Zamos v. AssetAcceptance, LLC, 423 F. Supp. 2d
777, 787-88 (N.D. Ohio 2006) (quoting 15 U.S.C. § 1681s-2(d)); See also Ogle,
2012 WL 12925834, at *9 (“[T]he FCRA expressly prohibits any private cause of
action based on a violation of §16813-2(a)." (citation omitted)). Therefore, to the
extent Plaintiff attempts to bring a claim against LexisNexis for violations of 15
U.S.C. § 1681s-2(a)l that claim fails.

However, “[u]nlike section (a) discussed above, § 1681s-2(b) does provide
a means by which individuals can recover damages under the FCRA.” Kareem

v. J.P. Morgan Chase Bank, N.A., 2015 WL 4351750, at *4 (S.D. Ohio Juiy 15,

Case No. 2:18-cv-52 Page 5 of 7

CaSe: 2218-CV-00052-|\/|HW-C|\/|V DOC #Z 30 Filed: 05/08/18 Page: 6 Of 7 PAGE|D #Z 151

2015) (citing Bach v. Flrsf Unlon Nat. Bank, 149 F. App’x 354, 358-59 (6th Cir.
2005)). Upon notice from a credit reporting agency that a consumer disputes the
information the furnisher provided, this subsection requires the furnisher to “(1 )
investigate the veracity of the disputed information; (2) review the information
provided by the credit reporting agency; (3) report the results of the investigation;
and (4) correct any inaccuracies uncovered by the investigation.” Bach, 149 F.
App’x at 358. A consumer may recover damages for a furnisher’s willful violation
of 15 U.S.C. § 1681s-2(b). ld. To bring a claim under that section, “a plaintiff
must allege that |] a credit reporting agency notified the furnisher that the credit
information was disputed” and that “the furnisher then acted with ‘reckiess
disregard’ in . . . conducting an investigation and reviewing pertinent information."
Kareem, 2015 WL 4351750, at *4 (citation omitted).

Plaintist Complaint fails to state a claim against LexisNexis under this
section, too, because the Complaint is devoid of any allegation that Equifax,
Experian, or TransUnion (or any other credit reporting agency) notified
LexisNexis that Plaintiff disputed the credit information it allegedly furnished. Cf.
id.; see also Ogle, 2012 WL 12925834, at *9 (“Piaintiffs’ failure to allege that the
credit reporting agency notified [the furnisher] of the disputed information is fatal
to their FCRA ciaim.” (citing Farrls v. Morgan Stanley Dean Vi/itter Credit Corp.,
No. 08-11851, 2010 WL 3023808 (E.D. l\liich. Juiy 29, 2010))); Zamos, 423 F.
Supp. 2d at 788 (“[U]nder § 1681 s-2(b), the plaintiff must show that the furnisher

received notice from a consumer reporting agency, not the plaintiff, that the credit

Case No. 2:18-cv-52 Page 6 of 7

CaSe: 2218-CV-00052-|\/|HW-C|\/|V DOC #Z 30 Filed: 05/08/18 Page: 7 Of 7 PAGE|D #Z 152

information is disputed.” (quoting Downs v. Clayton Homes, Inc., 88 F. App’x
851, 854 (6th Cir. 2004) (emphasis removed))). Because Plaintiff fails to allege
sufficient facts to make plausible a claim for relief against LexisNexis under 15
u.s.c. § 1681s-2(b), this claim also fails.3

Finaliy, because 15 U.S.C. § 16813-2 is the only section of the FCRA that
applies to furnishers, Ogle, 2012 WL 12925834, at *8, Plaintiff cannot state any
other claim for relief against LexisNexis for violations of that statute. Accordingiy,
Plaintiff’s claims against LexisNexis are D|SMlSSED without prejudice for
failure to state a claim.

|V. CONCLUS|ON

For the foregoing reasons, the Court GRANTS LexisNexis’ Motion, ECF
No. 9-1, and D|SMlSSES LexisNexis from this case. The Cierk is D|RECTED to
terminate ECF No. 9 from its pending motions iist.

lT lS SO ORDERED.

    

M CHAEL H. WATSON, JUDGE
UN|TED STATES DlSTRlCT COURT

 

3 Plaintiff’s Response to LexisNexis’ Motion includes an affidavit in which Plaintiff
asserts that Equifax, Experian, and TransUnion stated to Plaintiff “that they would notify
LexisNexis of [his] disputes.” Pi. Aff. 11 3, ECF No. 10-1. Whi|e the Court may not
consider Plaintiff’s affidavit for the purpose of resolving the Motion to Dismiss, Rondigo,
LLC v. Twp. of Richmond, 641 F.3d 673, 680 (6th Cir. 2011) (“Assessment of the facial
sufficiency of the complaint must ordinarily be undertaken without resort to matters
outside the pleadings." (citation omitted)), Plaintiff may seek leave to amend his
Complaint under Federal Rule of Civil Procedure 15(a) to add this ailegation.

Case No. 2:18-cv-52 Page 7 of 7

